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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

BETH SHAPIRO, LORI ANN LOMBARDI, and
HEATHER GITLIN, on behalf of themselves and
on behalf of all others similarly situated,           Civil Action No. 2:22-cv-01958-ES-AME

                       Plaintiffs,
                                                      STIPULATION AND CONSENT ORDER
               v.                                      EXTENDING TIME TO RESPOND TO
                                                      COMPLAINT AND SETTING BRIEFING
AETNA, INC. and AETNA LIFE INSURANCE                  SCHEDULE FOR MOTION TO DISMISS
COMPANY,

                       Defendants.




       WHEREAS, Beth Shapiro, Lori A. Lombardi, and Heather Gitlin (collectively

“Plaintiffs”), filed the Complaint in the above captioned matter in the United States District

Court for the District of New Jersey on April 5, 2022; and

       WHEREAS, Plaintiffs served the Complaint on Defendants Aetna Inc. and Aetna Life

Insurance Company (“Defendants”), on April 20, 2022; and

       WHEREAS, Defendants’ time to respond to Plaintiffs’ Complaint expires on May 25,

2022; and

       WHEREAS, Defendants anticipate filing a motion to dismiss and need additional time to

review the pleadings and the relevant materials, as well as the applicable law, in order to prepare

such a motion; and

       WHEREAS, counsel for Defendants has conferred with counsel for Plaintiffs, who

consents to Defendants’ request for additional time to respond to the Complaint and to the

briefing schedule proposed below; and




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       WHEREAS, Defendants previously received a 14 day extension of time to respond to

the Complaint pursuant to Local Civil Rule 6.1(b);

       THEREFORE, it is hereby STIPULATED AND AGREED, by and between the parties

and their undersigned counsel, that (a) the deadline for Defendants to move to dismiss or

otherwise respond to the Complaint is extended to July 22, 2022; (b) the deadline Plaintiffs to

file their opposition or response to Defendants’ motion to dismiss the complaint is September 22,

2022; and (c) the deadline for Defendants to file a reply in further support of their motion to

dismiss the complaint is October 21, 2022.

       AGREED TO AS TO FORM AND SUBSTANCE

 Dated: May 20, 2022

 BUTTACI LEARDI & WERNER LLC                         CALCAGNI & KANEFSKY LLP

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    SO ORDERED.


    Dated: _____________, 2022
    Newark, New Jersey

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                                           Hon. Esther Salas, U.S.D.J.




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